                        UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE


TREVIS LOVE,                                             )
          Petitioner,                                    )
                                                         )
v.                                                       )       NO. 2:03-CR-62
                                                         )       NO: 2:09-CV-18
UNITED STATES OF AMERICA,                                )       Judge Greer
          Respondent.                                    )


                           MEMORANDUM OPINION AND ORDER

        This matter is before the Court on petitioner Trevis Love’s (“Petitioner” or “Love”) motion

to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255, [Doc. 816], the government’s

response, [Doc. 834], and petitioner’s answer to the government’s response, [Doc. 845].1           Based

upon its review of the petition, the government’s response, Love’s reply, and the record of the prior

proceedings, the Court has previously determined that an evidentiary hearing will be conducted as

to three claims raised by petitioner related to his claims of ineffective assistance of counsel for

failure to seek to sever petitioner’s case from that of co-defendant Delman Davis, failure to

interview and present certain witness testimony, and failure to secure and present testimony of a

handwriting analyst, [Doc. 881]. That evidentiary hearing is scheduled for March 9, 2012.

        As to all other claims made in the petition, however, the Court has concluded that the files

and records in the case conclusively establish that the petitioner is not entitled to relief under § 2255

and the motion will be denied as to those claims. This memorandum opinion and order will,



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            The petitioner has also filed a supplemental petition pursuant to § 2255, [Doc. 877], and the
government has responded to that supplement, [Doc. 880]. This order does not address that supplement since
petitioner has been granted an extension of time until February 23, 2012, to reply to the government’s
response. The Court will address that supplemental petition once Love’s reply has been filed.



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therefore, dispose of all claims raised by Love in his petition except for the ones on which an

evidentiary hearing has been granted.

                             I. Procedural And Factual Background

        Eric Serna and Delman Davis were indicted by the federal grand jury on August 26, 2003,

[Doc.13]. On October 28, 2003, the grand jury returned a superseding indictment charging Love,

Serna, Davis, and five co-defendants with conspiracy to possess and possession with intent to

distribute five kilograms or more of cocaine in violation of 21 U.S.C. § 841(a)(1), [Doc. 64]. Love

was arraigned on November 21, 2003, and was represented through the trial of the case by retained

counsel.2

        After extensive litigation of pretrial motions, the case of petitioner and co-defendant Davis

was tried before a jury. After six days of trial, Love was convicted of the conspiracy charge on

November 3, 2004, [Doc. 544]. A Presentence Investigation Report (“PSR”) was ordered. The PSR

was disclosed to the parties on January 26, 2005. The probation office calculated Love’s guidelines

range at 168 to 210 months imprisonment; however, Love, because of a prior felony drug conviction,

was subject to a 240 mandatory minimum term of imprisonment.3 Thus, his guideline range was

240 months. A sentencing hearing was conducted on June 7, 2005, and Love was sentenced to the

minimum mandatory of 240 months. Judgment was entered on June 30, 2005, [Doc. 700]. The

judgment was appealed to the Sixth Circuit Court of Appeals, [Doc. 701]. The Sixth Circuit



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           Love’s retained counsel were permitted to withdraw after trial and a CJA attorney was appointed
to represent Love at sentencing. Appointed counsel also represented Love during his direct appeal.

        3
           On April 7, 2004, the United States filed a notice pursuant to 21 U.S.C. § 851 of intent to seek
enhanced punishment based on Love’s prior conviction on January 24, 1994, in the Greene County,
Tennessee Criminal Court of possession of more than one-half gram of crack cocaine with intent to sell or
deliver and sale of more than one-half gram of crack cocaine.

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affirmed on November 14, 2007. United States v. Love, 254 Fed. App’x 511, 2007 WL 3391169

(6th Cir. 2007). The instant § 2255 motion was then timely filed.

       The following statement of the facts and procedural background is taken from the

government’s response:

                      . . .cooperating co-defendant Gorge Duarte testified in the
              government’s case in chief that he was responsible for distributing
              163 kilograms of cocaine during the course of the conspiracy, which
              existed from 1998 to 2003. (R. 607, Trial Transcript, Gorge Duarte,
              TR 34-35.) Duarte obtained ten to fifteen kilograms of cocaine every
              couple of weeks from California, Chicago, and Georgia, which he
              then distributed in the Newport, Morristown, and Johnson City
              communities of Tennessee. (Id. at 37- 38.) Duarte estimated that he
              provided forty to fifty kilograms of cocaine to petitioner from 2002
              to 2003. (R. 609, Trial Transcript, Duarte, TR 23.),

                      Duarte described how in 2002 co-defendant Cole Butler
              introduced Duarte to petitioner and co-defendant Delman Davis at a
              Kentucky Fried Chicken restaurant in Johnson City for the purpose
              of Duarte possibly investing in a music concert being organized by
              petitioner. (R. 608, Trial Transcript, Duarte, TR 52-53.) Later, Davis
              called Duarte and Duarte met with petitioner and Davis at the same
              restaurant and discussed Duarte fronting cocaine to petitioner and
              Davis. (Id. at 53-54.)

                       On the first occasion, Duarte fronted a kilogram of cocaine for
              $24,000 to Davis. (Id. at 54.) Four days later, Duarte fronted
              petitioner and Davis each a kilogram of cocaine. Petitioner and Davis
              paid Duarte for the fronted cocaine within a week. (Id. at 55.)
              Thereafter, Duarte confronted petitioner and Davis each a kilogram
              of cocaine a week, or two kilograms every two weeks, for seven or
              eight months until Duarte was imprisoned on state charges in 2003.
              (Id. at 55-56.)

                      Petitioner always paid Duarte for the cocaine that petitioner
              was fronted, and on occasion Davis would owe Duarte money. (Id.
              at 56.) Duarte described how either petitioner or Davis would call
              Duarte, Duarte would send his cousin, Eric Serna, to deliver the
              cocaine to petitioner and Davis, and then Duarte would personally
              pick up the cash after petitioner and Davis sold the cocaine. (Id. at
              57.) Duarte and/or Serna usually met with petitioner and/or Davis

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            either at a location on Poncho Road, or at Davis’s car-detailing
            business in Johnson City, or at a house in Johnson City that was
            located next to a church. (Id. at 41, 56-61, 74-76.)

                     Duarte recorded in notebooks, some of which were admitted
            into evidence, the amount of cash that he was owed by various
            persons to whom he was fronting cocaine, as well as how much he
            owed his suppliers. (Id. at 40.) Duarte kept a list of customers’ names
            and their telephone numbers that he used to contact his customers.
            (Id. at 41.) When a customer made a payment, Duarte subtracted the
            amount paid from the amount owed, keeping a running tally of the
            drugs he had fronted. (Id. at 44.)

                    Duarte identified petitioner in the courtroom and then located
            in one of his notebooks an entry where he had inscribed petitioner’s
            name and a notation indicating that petitioner had been fronted three
            kilograms of cocaine and owed Duarte $72,000, or $24,000 per
            kilogram. (Id. at 45-46, 48-49.) The ledger showed that petitioner
            made a payment, leaving a balance owed of $40,500. (Id. at 50.)
            Duarte identified a list of drug customers’ names and telephone
            numbers and pointed out the entry for petitioner with petitioner’s
            telephone number. (Id. at 50, 52.)

                    In another similar notebook, Duarte identified an entry for
            cash that petitioner owed him for fronted cocaine, and also identified
            a loan in 2002 for $14,000 that Duarte made to petitioner so that
            petitioner could purchase a Cadillac Escalade. (Id. at 65-67.) In
            another similar notebook’s entry, also admitted as a trial exhibit,
            Duarte testified that an entry demonstrated that petitioner owed
            $72,000 for cocaine, had paid $14,000, and still owed $58,000. (Id.
            at 74.)

                    When Duarte was incarcerated in 2003, Duarte gave his
            notebooks containing the notations regarding his drug business to his
            cousin, Eric Serna, whom Duarte described as “my right-hand man,”
            and Serna stored the notebooks in a safe at Serna’s residence. (Id. at
            42.)

                   In 2002, Duarte purchased a Cadillac Escalade from petitioner
            for $42,000 cash that later was forfeited to the United States. (Id. at
            77-78.) Duarte would drive the Escalade to co-defendant Davis’s
            shop to have it “detailed” and often would see petitioner there and
            conduct drug transactions. (Id. at 80-81.) Also in 2002, Duarte
            purchased a Lincoln Navigator from petitioner in exchange for a

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            kilogram of cocaine. When petitioner filled out the transfer
            documents, petitioner indicated that petitioner gave the car to Duarte
            as a gift. (R. 609, Trial Transcript, Duarte, TR 19-22.)

                     At the conclusion of Gorge Duarte’s direct testimony on the
            second day of trial, the United States sought to introduce evidence
            that petitioner was purchasing and selling crack cocaine in addition
            to powder cocaine as charged in the indictment. The Court heard the
            parties the beginning of the third day outside the presence of the jury.
            (R. 609, Trial Transcript, TR 2-5.) The United States proffered that
            Duarte would testify that in 2002 Duarte sold petitioner at petitioner’s
            request two kilograms of crack cocaine, and also that on some
            occasions when Duarte was selling petitioner powder cocaine,
            petitioner asked Duarte to convert it to crack cocaine for him. (Id.)
            The United States also proffered the testimony of Kelvin Jackson,
            who purchased crack cocaine from petitioner in November and
            December 2002, and Vernon McCallum, who sold crack cocaine to
            petitioner in 1998 and 1999. (Id.)

                    Following argument of the parties, the Court found that the
            proposed testimony constituted “other acts” of uncharged conduct
            that was not part of the charged conspiracy but instead was part of a
            separate conspiracy, thus it was not admissible as res gestae evidence.
            (Id., TR 14-15.) As for its admissibility under Rule 404(b), the Court
            found that the evidence of crack cocaine transactions by petitioner
            was not admissible as part of the plan or in preparation of the charged
            conspiracy. (Id. at 15-16.)

                    The Court concluded, however, that the evidence was relevant
            to demonstrate petitioner’s intent to participate in the charged
            conspiracy. (Id. at 16.) Nevertheless, weighing the probative value of
            the evidence against its unfair prejudice, the Court first found that, on
            the issues before the jury, the evidence that petitioner purchased
            crack from Duarte on one occasion was cumulative of Duarte’s
            testimony that he was selling powder cocaine to petitioner once or
            twice a week for seven or eight months, which reduced its probative
            value. There was ample evidence in the record to establish
            petitioner’s specific intent to participate in the cocaine conspiracy.
            (Id.)

                    Moreover, the Court found that the potential prejudicial effect
            of the evidence of petitioner’s crack cocaine transactions would be
            great. Even with a cautionary instruction, the Court was concerned
            that the jury would simply conclude that petitioner was a drug dealer

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            and, on that basis alone, convict him of participating in the charged
            conspiracy. The Court thus found that evidence of the uncharged
            conduct of petitioner’s crack cocaine transactions with Duarte and
            others was not admissible. (Id. at 16-17.)

                    After Duarte, as to petitioner, the United States presented the
            testimony of Eric Serna. Serna had been arrested in August 2003 and
            charged in this case and subsequently pled guilty pursuant to a
            cooperation plea agreement to conspiracy to distribute a half
            kilogram of cocaine. Serna admitted that he had been working for his
            cousin, Gorge Duarte, since April 2002 delivering cocaine and
            picking up money. (Id., Eric Serna, TR 217-19.) In return, Duarte
            paid Serna $500 a week, which increased to $1,000 a week “towards
            the end.” (Id. at 219.) Serna usually delivered the cocaine to a
            location on Poncho Road in Greeneville. (Id. at 219-20.)

                     In late May or early June 2002, Serna accompanied Duarte to
            Davis’s business in Johnson City to pick up money from the sale of
            a kilogram of cocaine. (Id. at 222.) Thereafter Serna made several
            trips to the business to pick up money for fronted cocaine. (Id.) Serna
            also recalled a house in Greeneville where he would meet petitioner
            to pick up money from petitioner for cocaine that Duarte fronted to
            him. (Id. at 223-24.) Serna described how petitioner would call
            Duarte and ask for “either a kilogram or two,” Duarte would instruct
            Serna to deliver the cocaine to petitioner, and “most of the time”
            Serna would deliver the cocaine to the Poncho Road location. (Id. at
            224.) Petitioner had two persons who would pick up cocaine for
            petitioner, “Eric” and a man nicknamed “Biz.” (Id. at 224-25.)

                    Serna also described the entry of drug debts into the
            notebooks, stating they would log “$24,000” for a kilogram of
            cocaine and then deduct payments as they were received. (Id. at 225-
            26.) Serna reviewed one of the notebooks, Exhibit 6, and identified
            entries Duarte had made showing three kilograms of cocaine had
            been fronted to petitioner for $72,000. (Id.) He said it took petitioner
            anywhere from a week to two weeks to pay for three kilograms of
            cocaine. (Id. at 226.) Another entry indicated petitioner had been
            fronted two kilograms of cocaine for $48,000. (Id. at 227.)

                   When Duarte was arrested, he gave the notebooks to Serna
            and instructed him to lock them in a safe in Serna’s house. (Id. at
            228.) The notebooks were discovered during a search of Serna’s
            house by federal agents following Serna’s arrest. (Id. at 229.)
                   Serna would visit Duarte’s customers every three days or so

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            to see how much money they had from the sale of the fronted cocaine
            and, if payments were not being made, Duarte would start calling the
            customers every day. (Id. at 226-27.) Duarte would get ten to fifteen
            kilograms of cocaine every other week and Serna delivered cocaine
            to five or six different customers for Duarte. Petitioner was getting
            one or two kilograms a week. (Id. at 233.)

                     Serna confirmed that Duarte purchased a Cadillac Escalade
            from petitioner in March 2003, and that Duarte bought a Lincoln
            Navigator from petitioner in exchange for a kilogram of cocaine,
            which Serna delivered to petitioner. (Id. at 237-38.) Petitioner later
            gave Serna the title and other paperwork for the transfer of the
            Navigator, which petitioner had completed to indicate the vehicle was
            a gift from petitioner’s mother to Serna’s wife. (Id. at 238-39.)

                     Serna confirmed that when Duarte was arrested in March
            2003, Serna took over his drug business and was in charge of getting
            cocaine from Duarte’s suppliers to his customers. (Id. at 219.) After
            Serna took over, he delivered a total of twelve kilograms of cocaine.
            (Id. at 221.) Serna fronted three of those kilograms to petitioner. (R.
            610, Trial Transcript, Serna, TR 4.)

                     On August 21, 2003, Serna met with petitioner in the middle
            of the afternoon at the mall and they agreed that petitioner would give
            Serna a Honda Accord and that Serna would deduct the cost from
            petitioner’s drug debt for cocaine that Serna had fronted petitioner.
            (R. 609, Trial Transcript, Serna, TR 242-44.) Serna and petitioner
            also discussed an $18,000 drug debt that was owed to Serna by
            Jeremiah Lovelady, who was a customer of Serna’s and a personal
            friend of co-defendant Davis. (Id. at 244-45.) Serna stated that he had
            heard that Lovelady was working undercover for the police and
            petitioner called Davis, discussed the matter with him, and Davis
            came to the mall to talk with Serna and petitioner. (Id.) Davis and
            Serna agreed that Davis would attempt to collect Serna’s $18,000
            debt from Lovelady and, in return, Davis could keep $5,000. (Id. at
            245.) They left the mall and, in less than an hour, Davis called Serna
            and said he had spoken with Lovelady and that Lovelady had the
            money. Serna instructed Davis to pick up the money from Lovelady
            and take it to Davis’s residence where Serna would pick it up. (R.
            610, Trial Transcript, Serna, TR 2-3.) Later that day, Serna was
            arrested at Serna’s home. (Id. at 5; R. 609, Trial Transcript, Serna,
            TR 242.)

                   Raven Serna, Eric Serna’s wife, testified that at Gorge

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            Duarte’s request, she allowed a Lincoln Navigator to be titled in her
            name. She was shown Exhibit 1 and identified it as the title originally
            issued to petitioner’s mother, Madie Love. The paperwork identified
            the vehicle as a gift from Madie Love to Raven Serna, a person
            Raven Serna did not know. (R. 610, Trial Transcript, Raven Serna,
            TR 162-65.)

                    DEA Agent Michael Templeton testified that on August 12,
            2003, Jeremiah Lovelady was a cooperating informant and purchased
            a half kilogram of cocaine from Serna’s cousin, co-defendant
            Guadalupe Duarte. (Id., Michael Templeton, TR 190-91.) Lovelady
            had informed Templeton that Lovelady had an outstanding $18,000
            drug debt for cocaine that had been fronted to him by Guadalupe
            Duarte. (Id. at 191.) While working with Templeton, Lovelady
            collected the money from his customers to whom he had distributed
            the cocaine fronted by Guadalupe Duarte, and arranged through
            recorded telephone calls to meet with Guadalupe Duarte to pay him
            and receive more cocaine. (Id. at 191-92.)

                     On August 12, 2003, Templeton and other agents positioned
            themselves at the rural location where Lovelady was to meet
            Guadalupe Duarte. (Id. at 192.) In a videotaped meeting, Lovelady
            sat in his vehicle, Guadalupe Duarte drove up in his vehicle with the
            window rolled down, Duarte threw a box through the window of
            Lovelady’s car, Lovelady handed Duarte a box containing $16,000
            in cash, and Duarte immediately left. (Id. at 196.) The box Duarte
            gave Lovelady was a cellular phone box that contained a half a
            kilogram of cocaine worth $12,000. (Id. at 195-96.) As a result,
            Lovelady now owed Guadalupe Duarte a total of $18,000 for cocaine
            Duarte had fronted him. (Id. at 196.)

                    On August 21, 2003, Lovelady called Templeton and advised
            that Eric Serna had called Lovelady to collect $18,000 that he said
            that Lovelady owed Serna. (Id. at 197.) Templeton met with
            Lovelady and was informed that Serna was sending co-defendant
            Davis to collect the money from Lovelady. (Id. at 198.) The meeting
            was to be at Applebee’s restaurant in Greeneville. (Id.)

                    At 7:30 p.m., Agent Templeton and three other agents went
            to the Applebee’s restaurant where they observed co-defendant Davis
            arrive in a rented pick up truck, enter the restaurant, and walk around
            the restaurant talking into his cell phone, saying “I'm here, where are
            you?” (Id. at 199.) Templeton identified himself, advised Davis that
            he was under arrest, and escorted him outside. (Id.)

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                    Davis admitted to Templeton that he had met with Eric Serna
            earlier that day and that Serna had instructed Davis to meet with
            Lovelady to collect the drug debt. (Id. at 200-01.) Agents went to
            Serna’s house and placed him under arrest and searched his house,
            seizing, among other items, Gorge Duarte’s drug ledgers. (Id. at 203-
            04.)

                    On cross-examination, Agent Templeton explained that when
            he testified before the grand jury he stated that the word “Love,”
            petitioner's last name, appeared in Gorge Duarte’s drug ledgers, but
            he should have said that “Travis,” similar to petitioner’s first name
            “Trevis,” was used by Duarte in the drug ledgers to refer to
            petitioner. (Id. at 245-46.) Templeton did not have the ledgers with
            him when he testified before the grand jurors. (Id. at 246.) Templeton
            explained further that petitioner’s tax records were not subpoenaed
            from the IRS, but that the United States had subpoenaed records from
            the State of Tennessee regarding petitioner’s business revenue from
            his promotional business, which came back negative. Templeton
            believed this was because petitioner’s business was located in Bristol,
            Virginia and was registered in that state. (Id. at 246-47.)

                    After Templeton completed his testimony, and immediately
            prior to the United States’ resting its case, the parties presented a
            stipulation regarding petitioner’s prior felony drug conviction and a
            stipulation regarding prior convictions of co-defendant Davis. (Id.,
            TR 254.) The Court admitted the stipulations and gave the jurors a
            limiting instruction that they could consider this evidence only as to
            whether either defendant had the requisite intent to participate in the
            conspiracy charged in the indictment. (Id., TR 254-55.)

                   Thereafter, the United States rested. (Id. at 255.) Petitioners
            moved for judgment of acquittal, which motion was taken under
            advisement and later denied by the Court. (Id. at 255, 281-82.)

                     Petitioner presented the testimony of Natalia Stewart, who
            was a friend of Gorge Duarte’s wife and who testified, contrary to
            Duarte’s testimony that he could not write in Spanish, that she had
            seen Duarte write in a language she assumed was Spanish because at
            the time he was speaking Spanish with Hispanic acquaintances. (Id.,
            Trial Transcript, Natalia Stewart, TR 259-60, 273-74.) Stewart also
            testified that while Gorge Duarte was in jail she was at his residence
            and heard a conversation between Duarte and his wife, who was
            using the speaker function on the telephone. In that conversation,
            Duarte stated he had been asked by the United States to testify

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           against co-defendant Gary Musick, but that Duarte did not have drug
           dealings with Musick. (Id. at 261-63.)

                   On cross-examination, Stewart agreed that her cousin, Craig
           Stewart, had been charged and pleaded guilty in this case, but denied
           that she knew that Duarte also was going to testify against Stewart’s
           cousin if he went to trial. (Id. at 274-75.)

                   Elvin Brown testified on petitioner’s behalf that he knew
           petitioner and that he was called by Agent Templeton and asked if he
           was involved in drug dealing with petitioner. (R. 611, Trial
           Transcript, Elvin Brown, TR 3-4 .) Brown advised Templeton that he
           was not involved in drug dealing. (Id. at 4.)

                    Javon Bowen testified on petitioner’s behalf that he was the
           owner of the house where, according to earlier testimony, cocaine
           was delivered to petitioner on multiple occasions. (Id., Javon Bowen,
           TR 6.) Bowen stated that no one else had a key to Bowen’s house and
           he denied that cocaine was regularly delivered there. (Id.) When
           asked if he knew Gorge Duarte, Bowen testified that he had “met him
           one time,” and stated that the only time Bowen recalled that Duarte
           had been to Bowen’s residence was the occasion when Duarte picked
           up the truck that he had purchased from petitioner. (Id. at 7-8.)
           Bowen did not know Eric Serna, did know Delman Davis, and denied
           that Duarte, Serna, and Davis regularly met at Bowen’s residence.
           (Id. at 7.)

                   On cross-examination, Bowen stated that he was present when
           Duarte came to purchase petitioner’s truck but he was in his room
           and was not present and that he later saw the cash that Duarte paid on
           the kitchen table, but did not know how much he paid because it was
           “none of my business.” (Id. at 9-10.) Bowen confirmed that if Bowen
           was not present, petitioner could not enter Bowen’s residence. (Id. at
           11.)

                    Petitioner took the stand and testified in his own defense.
           Petitioner admitted that at the age of eighteen, the summer following
           his first year of college, petitioner had been in a car with an “older
           gentleman” and “"rode with him while he was doing a drug
           transaction.” (Id., Trevis Love, TR 15-16.) The older man handed
           petitioner a “little baggy of cocaine” and petitioner handed the baggy
           to an undercover agent with the Tennessee Bureau of Investigation.
           Petitioner was charged with sale of more than .5 grams of cocaine.
           (Id.) Petitioner pleaded guilty because he knew what he was doing,

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           had been sentenced to eight years, had served nine months, and then
           had gone to boot camp. (Id.) That case was now over. (Id. at 17.)

                   Petitioner described his educational background, which
           included petitioner’s near-completion of his college degree, and his
           present full-time employment as a senior account executive with
           Suncom AT&T Wireless cellular provider. (Id. at 15, 17-19.)
           Petitioner received a salary and commissions biweekly; his average
           paycheck was $4,631, with the highest being $7,000. Petitioner had
           earnings of $43,982.28 for that year up to October 15, 2004. (Id. at
           19-21.)

                   Petitioner also described a business he had started with two
           partners that presented entertainers and speakers at East Tennessee
           State University using promotional sponsors. (Id. at 22-27.)
           Petitioner’s third employment was his involvement in a profitable
           business with his father and uncle in North Carolina. Petitioner was
           the chief executive officer and financed the purchase of commercial
           dump trucks that were used in construction projects to haul dirt, sand,
           gravel, and, during the winter, snow. (Id. at 28.)

                   As for petitioner’s relationships with his co-defendants in this
           case, petitioner testified that he met Gorge Duarte in late 2002 at co-
           defendant Davis’s shop. Duarte, overhearing petitioner discussing his
           concert promotion business with Davis, asked petitioner about
           providing information to Duarte about applying for business loans
           and even inquired about classes for small business owners at East
           Tennessee State University. (Id. at 29-30.)

                   Later, petitioner heard that Duarte wanted to invest some
           money in one of petitioner’s promotional events and they met for
           lunch at a Kentucky Fried Chicken restaurant to discuss the matter.
           (Id. at 30-31.) Petitioner gave Duarte an informational brochure
           regarding an upcoming 9/11 tribute that petitioner was presenting at
           the University, an event in which Duarte said he was interested in
           investing. (Id. at 31-32.)

                   After another meeting at the Kentucky Fried Chicken
           restaurant, Duarte decided to invest in the event and initially paid
           petitioner $15,000 in cash, then two days later Duarte brought
           petitioner another $15,000 in cash, and then Duarte gave petitioner
           another $15,000 in cash the following day. (Id. at 33-35.) All three of
           these meetings were at Javon Bowen’s residence with Bowen and
           others present. (Id. at 35.)

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                   Petitioner took Duarte’s $45,000 cash and placed it in a
           lockbox at petitioner’s residence. At the time, petitioner was
           negotiating with the financial advisor of his cousin, Leonard Little,
           who plays for the St. Louis Rams, about Little becoming a full-time
           partner in the promotional business. (Id. at 35-36.) When Little
           decided to become a partner and invest $100,000, petitioner returned
           Duarte’s $45,000 cash to Duarte. (Id. at 36-37.) Duarte understood
           that petitioner preferred a full-time partner like Little who did not
           expect an immediate return on his investment. (Id. at 37.)

                   Petitioner and Duarte met again in October 2002 when Duarte
           purchased petitioner’s Lincoln Navigator, which was titled in
           petitioner’s mother’s name. (Id. at 38-40.) Duarte paid petitioner
           $25,000 in cash at a meeting at Javon Bowen’s house. (Id. at 40.)
           Petitioner testified the transfer section of the title was blank when he
           gave the title to Duarte and stated he did not even remove the title
           from the envelope when he received it, but simply gave Duarte the
           entire envelope. (Id. at 42-43.)

                   Petitioner explained that his meetings with Duarte were at
           Bowen’s house because “we often stayed at Mr. Bowen’s house
           practicing for the event.” (Id. at 41.) Bowen had studio equipment
           that petitioner and others used to prepare music, thus he and others
           often met there. (Id.) Petitioner denied that he exchanged the
           Navigator for a kilogram of cocaine. (Id. at 44.) Petitioner testified
           that he used the cash paid by Duarte for the Navigator to finance a
           Cadillac Escalade that petitioner purchased in Atlanta. (Id. at 45-47.)

                   Gorge Duarte purchased another vehicle from petitioner, a
           Cadillac Escalade, that was owned by Leonard Little. (Id. at 54-55.)
           The car was in St. Louis at the time and Duarte purchased it “sight
           unseen” because petitioner described it to Duarte, and it was the same
           as the Escalade petitioner owned, just a different color. Duarte paid
           petitioner $35,000 in cash and again picked up the Escalade at Jevon
           Bowen’s house. (Id. at 54-57.) That was the last time that petitioner
           saw Duarte before the trial. (Id. at 58.) Petitioner denied that he
           engaged in cocaine transactions with Gorge Duarte. (Id.)

                   Petitioner stated that he knew Eric Serna, having met him
           through Serna’s cousin, Gorge Duarte, when Duarte would get his car
           cleaned at co-defendant Davis’s shop. (Id. at 59.) Petitioner tried to
           sell Serna cell phones. (Id.) Serna was with Duarte when they met at
           Kentucky Fried Chicken to discuss Duarte’s possible investment in
           petitioner’s promotional company. (Id.) Serna became angry with

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           petitioner when petitioner would not let Serna test-drive petitioner’s
           Mazda Millennium, which Serna wanted to purchase. (Id.)

                  Petitioner sold Serna two Honda Accords for $4,500 cash,
           which Serna gave petitioner when he picked the cars up on July 4,
           2003, at petitioner’s residence. (Id. at 60-62.) Petitioner had
           misplaced the title to one of the Accords and Serna called petitioner
           every day regarding the title since Serna was planning to sell it to
           someone else and needed the title. (Id. at 62.)

                    On August 20, 2003, petitioner called Serna and told him
           petitioner had the title and Serna agreed he would pick up the title.
           (Id. at 62-63.) Serna met petitioner at the mall to pick up the title for
           the Honda Accord and, during their conversation, Serna mentioned
           Jeremiah Lovelady from whom Serna had purchased a Camaro for
           $16,500. (Id. at 64.) Serna stated he needed to get in touch with
           Lovelady because the “salvage” title Lovelady had given Serna was
           not acceptable in Tennessee. Petitioner stated that he knew Lovelady,
           who was a cell phone customer, but that petitioner could not help
           Serna. (Id. at 64-65.) Petitioner was expecting to be joined by co-
           defendant Davis, who was petitioner’s friend, and petitioner told
           Serna to ask Davis about how to get in touch with Lovelady. (Id. at
           65.) Petitioner denied that Serna said anything about Lovelady
           cooperating with law enforcement agents or anything regarding
           cocaine. (Id.)

                  Serna and petitioner then went to petitioner’s house so that
           Serna could look at a “collector car” that petitioner owned that at the
           time was parked in a neighbor’s driveway. (Id. at 66.) Petitioner and
           Serna could not agree on a price, Serna left, and petitioner went back
           to work. (Id. at 66-67.)

                    Petitioner left work early and went to co-defendant Davis’s
           house where Serna and Davis were outside looking at a red truck, and
           Serna was still asking about getting in touch with Lovelady to get the
           car title Serna needed. (Id. at 67.) Petitioner left after about an hour
           to go coach a semi-pro football team in Johnson City and did not see
           Serna again. (Id. at 68.)

                   Petitioner denied purchasing cocaine at any time from Serna.
           (Id. at 69.) Petitioner denied that he was the “Travis” listed in
           Duarte’s notebooks as a customer. (Id. at 76-77.)

                   During cross-examination, petitioner was shown a page from

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           Gorge Duarte’s ledger and admitted that the telephone number noted
           in the ledger next to the name “Travis” was petitioner’s cellular
           telephone number. (Id. at 78-79.) Petitioner was asked to compare his
           signatures on defense exhibits with the signature on the title to the
           Navigator, which he denied signing, and petitioner denied that the
           signatures were distinctive and similar. (Id. at 89-91.)

                    Following petitioner’s testimony, petitioner rested his case.
           (Id. at 108.) In rebuttal, the United States presented the testimony of
           Sherron Lane, petitioner’s supervisor at Suncom AT&T Wireless.
           (Id., Sherron Lane, TR 109, 112-13.) She stated that petitioner was
           an account executive, but that he had not been promoted to a senior
           account executive. (Id. at 113-14.) Petitioner previously had been
           meeting his quotas, but had not done so since May 2004. (Id. at 115.)

                    Petitioner had stated on cross-examination that he handled the
           cell phone account for the City of Elizabethton, denied that he had
           ever heard of a “ghost phone,” and stated that he did not know the
           meaning of that term. (Id., Love, TR 80, 83.) Lane testified that
           petitioner managed the cellular account for the Elizabethton Power
           Board. (Id., Lane, TR 116.) Lane was familiar with the term “ghost
           phone,” which she defined as an extra cellular phone on an account
           that could not be identified to a user. (Id.) The Elizabethton Power
           Board had a ghost phone on its account that had been discovered
           several months earlier by AT&T's corporate account team in
           Richmond, Virginia. (Id. at 117.) Lane was notified of the problem
           and discovered that a telephone on that account had been given to a
           person who, when called, identified herself as 1There is no evidence
           in the record as to the price petitioner charged for the 1994 sale of the
           cocaine. “Sam.” (Id. at 118.) Petitioner was the only person who
           could activate a telephone on the Elizabethton account. (Id. at 120-
           21.)

                 Thereafter the United States rested its rebuttal case, defendant
           renewed his Rule 29 motion, and the Court denied the motion. (Id.,
           TR 124-26.)

                   In his closing argument before the jury, counsel for petitioner
           stated near the beginning of his argument that “[u]sually I don't talk
           about the indictment much, but this time I'm going to. I firmly
           believe that Mr. Love was indicted because he was a black male with
           an Escalade and he had a $35 drug sale when he was eighteen years
           old.”1 (R. 612, Trial Transcript, TR 42.)


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                   Petitioner filed a post-verdict motion for judgment of acquittal
           in which he asserted: (1) the evidence was insufficient to prove the
           conspiracy as charged and, at best, showed only that petitioner was
           in a buyer-seller relationship with Duarte; (2) there was no
           permissible connection between petitioner’s 1994 prior drug
           conviction and the charge in this case; (3) Agent Templeton
           presented false testimony before the grand jury; (4) dismissal of the
           charge was necessary because the United States had failed to prove
           the alleged theory of its case – that petitioner lacked the “net worth”
           to purchase the cocaine in this case – because it was unaware of
           petitioner’s other legitimate sources of income; and (5) the jury’s
           verdict as to the drug amount attributable to co-defendant Davis was
           inconsistent with the verdict as to petitioner and showed that, at best,
           the evidence proved a mere buyer-seller relationship with Duarte. (R.
           553, Motion for Judgment of Acquittal.) The Court rejected each of
           these arguments by Order entered April 11, 2005. (R. 666, Order.)

                    Petitioner also filed a post-verdict motion for new trial in
           which he argued that the Court erred: (1) by admitting evidence of
           petitioner’s prior felony drug conviction pursuant to Rule 404(b); (2)
           by denying his motion for acquittal because, as petitioner explained
           in detail, the verdict was against the weight of the evidence; (3) by
           refusing to admit evidence that the jury had convicted co-defendant
           Gary Musick in a separate trial of conspiring to distribute less than
           500 grams of cocaine, which was relevant as to Gorge Duarte’s
           credibility in that Duarte provided testimony at Musick’s trial similar
           to that provided against petitioner; (4) by prohibiting petitioner from
           cross-examining Raven Serna as to whether she was provided a
           “contact visit” with her husband in return for her testimony on behalf
           of the United States; (5)by denying a new trial on the ground that
           Agent Templeton presented untruthful testimony before the grand
           jury where he testified that Duarte’s drug ledgers contained the name
           “Love” and also testified that petitioner’s income selling cell phones
           could not support the purchase of a kilogram of cocaine, not knowing
           that petitioner had two other jobs; (6) by failing to dismiss the
           indictment based upon the United States’s alleged violation of its
           responsibility under Brady/Giglio where it failed to provide petitioner
           with a letter written in Spanish by Gorge Duarte, which was provided
           to co-defendant Musick; (7) by not replying in the negative to
           questions from the jury during deliberations as to its determination of
           the drug amount attributable to petitioner as a member of the
           conspiracy; (8) by failing to set aside the jury’s verdict as to
           petitioner as improperly inconsistent with the verdict as to co-
           defendant Davis, which must have been based upon a finding of no

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               more than a “buyer-seller” relationship; and (9) by overruling
               petitioner’s objection to the rebuttal testimony of Sherron Lane
               regarding petitioner’s performance as a cell phone representative,
               which was irrelevant and unfairly prejudicial. (R. 552, Motion for
               New Trial.)

[Doc. 834, pp. 2-20]

                                      II. Standard of Review

       This Court must vacate and set aside petitioner’s sentence if it finds that “the judgment was

rendered without jurisdiction, or that the sentence imposed was not authorized by law or otherwise

open to collateral attack, or that there has been such a denial or infringement of the constitutional

rights of the prisoner as to render the judgment vulnerable to collateral attack, . . .” 28 U.S.C. §

2255. Under Rule 4 of the Governing Rules, the Court is to consider initially whether the face of

the motion itself, together with the annexed exhibits and prior proceedings in the case, reveal the

movant is not entitled to relief. If it plainly appears the movant is not entitled to relief, the court

may summarily dismiss the § 2255 motion under Rule 4.

       When a defendant files a § 2255 motion, he must set forth facts which entitle him to relief.

Green v. Wingo, 454 F.2d 52, 53 (6th Cir. 1972); O’Malley v. United States, 285 F.2d 733, 735 (6th

Cir. 1961). “Conclusions, not substantiated by allegations of fact with some probability of verity,

are not sufficient to warrant a hearing.” O’Malley, 285 F.2d at 735 (citations omitted). A motion

that merely states general conclusions of law without substantiating allegations with facts is without

legal merit. Loum v. Underwood, 262 F.2d 866, 867 (6th Cir. 1959); United States v. Johnson, 940

F. Supp. 167, 171 (W.D. Tenn. 1996).

       To warrant relief under 28 U.S.C. § 2255 because of constitutional error, the error must be

one of constitutional magnitude which had a substantial and injurious effect or influence on the


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proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637 (1993) (citation omitted) (§ 2254 case);

Clemmons v. Sowders, 34 F. 3d 352, 354 (6th Cir. 1994). See also United States v. Cappas, 29 F.3d

1187, 1193 (7th Cir. 1994) (applying Brecht to a § 2255 motion). If the sentencing court lacked

jurisdiction, then the conviction is void and must be set aside. Williams v. United States, 582 F. 2d

1039, 1041 (6th Cir.), cert. denied, 439 U.S. 988 (1978). To warrant relief for a non-constitutional

error, petitioner must show a fundamental defect in the proceeding that resulted in a complete

miscarriage of justice or an egregious error inconsistent with the rudimentary demands of fair

procedure. Reed v. Farley, 512 U.S. 339, 354 (1994); Grant v. United States, 72 F. 3d 503, 506 (6th

Cir.), cert. denied, 517 U.S. 1200 (1996). In order to obtain collateral relief under § 2255, a

petitioner must clear a significantly higher hurdle than would exist on direct appeal. United States

v. Frady, 456 U.S. 152 (1982).

       The Sixth Amendment provides, in pertinent part, “[i]n all criminal prosecutions, the accused

shall enjoy the right . . . to have the Assistance of Counsel for his defense.” U.S. Const. amend. VI.

 A defendant has a Sixth Amendment right not just to counsel, but to “reasonably effective

assistance” of counsel. Strickland v. Washington, 466 U.S. 668, 687 (1984). In Strickland, the

Supreme Court set forth a two-pronged test for evaluating claims of ineffective assistance of

counsel:

               First, the defendant must show that counsel’s performance was
               deficient. This requires showing that counsel made errors so serious
               that counsel was not functioning as the “counsel” guaranteed the
               defendant by the Sixth Amendment. Second, the defendant must
               show that the deficient performance prejudiced the defense. This
               requires showing that counsel’s errors were so serious as to deprive
               the defendant of a fair trial, a trial whose result is reliable. Unless a
               defendant makes both showings, it cannot be said that the conviction
               . . . resulted from a breakdown in the adversary process that renders
               the result unreliable.

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Strickland 466 U.S. at 687. As with any other claim under § 2255, the burden of proving ineffective

assistance of counsel is on the petitioner. Virgin Islands v. Nicholas, 759 F. 2d 1073, 1081 (3d Cir.

1985).

         In considering the first prong of the test set forth in Strickland, the appropriate measure of

attorney performance is “reasonableness under prevailing professional norms.” Strickland, 466 U.S.

at 688. A defendant asserting a claim of ineffective assistance of counsel must “identify the acts

or omissions of counsel that are alleged not to have been the result of reasonable professional

judgment.” Id. at 690. The evaluation of the objective reasonableness of counsel’s performance

must be made “from counsel’s perspective at the time of the alleged error and in light of all the

circumstances, and the standard of review is highly deferential.” Kimmelman v. Morrison, 477 U.S.

365, 381 (1986).

         The second prong of the Strickland test requires the petitioner show counsel’s deficient

performance prejudiced the defense.         Thus, “[a]n error by counsel, even if professionally

unreasonable, does not warrant setting aside the judgment of a criminal proceeding if the error had

no effect on the judgment.” Strickland, 466 U.S. at 691. The petitioner must show “there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different.” Id. at 694. The Strickland Court emphasized that both prongs must be

established in order to meet the claimant’s burden, and if either prong is not satisfied the claim must

be rejected, stating:

                Although we have discussed the performance component of an
                ineffectiveness claim prior to the prejudice component, there is no
                reason for a court deciding an ineffective assistance claim to
                approach the inquiry in the same order or even to address both

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               components of the inquiry if the defendant makes an insufficient
               showing on one . . . . If it is easier to dispose of an ineffectiveness
               claim on the ground of lack of sufficient prejudice, which we expect
               will often be so, that course should be followed. Courts should strive
               to ensure that ineffectiveness claims not become so burdensome to
               defense counsel that the entire criminal justice system suffers as a
               result.
Id. at 697.


                                  III. Analysis and Discussion

        Petitioner raises five broad grounds for relief in this motion. He states those grounds as:

               GROUND ONE:            INEFFECTIVE ASSISTANCE-FAILURE
                                      TO SEEK SEVERANCE, INVESTIGATE
                                      POTENTIAL WITNESSES, AND
                                      PRESENT EXPERT TESTIMONY

               GROUND TWO:            VIOLATION    OF   THE SIXTH
               AMENDMENT                       GUARANTEE OF A FAIR
               CROSS-SECTION                   OF THE COMMUNITY IN
               THE JURY                   SELECTION PROCESS

               GROUND THREE: V I O L A T I O N OF   THE SIXTH
               AMENDMENT                    GUARANTEE TO BE TRIED
               BY AN                 IMPARTIAL JURY

               GROUND FOUR:           INEFFECTIVE ASSISTANCE OF COUNSEL
                                      -FAILURE TO OBJECT TO
                                      PROSECUTORIAL MISCONDUCT

               GROUND FIVE:           PROSECUTORIAL MISCONDUCT

[Doc. 822, pp. 27, 52, 59, 63, 65]


        A.     Composition of the Jury (Ground Two)

        Love claims that his Sixth Amendment right to a petit jury selected at random from a fair

cross-section of the community was violated in this case. He specifically claims that “the jury pool

from which the petit jury in the case at bar was selected consistent entirely of Caucasian

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individuals.” Love acknowledges that this fact alone4 is insufficient to warrant relief but relies on

the affidavits of “seven other individuals who were likewise tried in front of a jury void of African-

Americans or other individuals of minority ethnic descent” to establish, as he sees it, that this

Court’s jury selection process “systematically excludes minorities from serving as jurors in criminal

cases.”5 Petitioner, citing United States Census Bureau statistics that show that “white persons”

comprise 99.6% of the population in Greene County, Tennessee, 6 argues that “4%” of non-

Caucasians are being excluded from the jury pool.

        This claim fails for several reasons. First, it is barred by statute. The Jury Selection and

Service Act of 1968 (“JSSA”), 28 U.S.C. § 1861, et seq., provides the exclusive means of

challenging the venire in a criminal case. The relevant parts of the JSSA provide:

                 (a) In criminal cases, before the voir dire examination begins, or
                 within seven days after the defendant discovered or could have
                 discovered, by the exercise of diligence, the grounds therefore,
                 whichever is earlier, the defendant may move to dismiss the


        4
           Although nothing in the record establishes that the “pool” was all white, the Court will accept that
as established for the purposes of the instant motion.
        5
            The seven affidavits are signed by co-defendant Delman Davis, who was tried with Love, Rudy
Garnier, Mario Graves, Terry Woods, Charles Jackson, co-defendant Gary Musick, who was tried separately
from Love, Garland Slade and David Hill. Each of the affidavits, except for the name and case information
of the affiant, is identical. In relevant part, they read as follows:

                         2.      Trial in my case was held in the United States District
                 Court for the Eastern District of Tennessee at Greeneville.

                        3.     There were no African-American members of the jury in
                 my case, and to the best of my recollection, there were no African-
                 American members of the jury pool from which they were selected.

[Docs. 822-73, 74, 75, 76, 77, 78, 79, 80]
        6
          While the situs of the federal courthouse in the Northeastern Division of this Court is in Greene
County, Tennessee, the pool of potential jurors is drawn from the ten Northeast Tennessee counties which
comprise the Northeastern Division.

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                indictment or stay the proceedings against him on the ground of
                substantial failure to comply with the provisions of this title in
                selecting the grand or petit jury.

                ...

                (e) The procedures prescribed by this section shall be the exclusive
                means by which a person accused of a Federal crime, the Attorney
                General of the United States or a party in a civil case may challenge
                any jury on the ground that such jury was not selected in conformity
                with the provisions of this title.

28 U.S.C. § 1867(a) and (e). See United States v. Ovalle, 136 F.3d 1092, 1098 (6th Cir. 1998)

(holding that failure to comply precisely with the requirements of § 1867 bars such a challenge);

United States v. Johnson, 40 Fed. App’x 93 (6th Cir. June 27, 2002). Here, Love raises his claim

for the first time in this § 2255 proceeding and it is clearly barred by the statute.7

        Second, even if not statutorily barred, the claim is procedurally defaulted because Love failed

to raise it at trial or on appeal. “A procedurally defaulted claim, absent a showing of cause and

prejudice or actual innocence, cannot give rise to relief under § 2255.” Peveler v. United States, 269

F.3d 693, 698 (6th Cir. 2001). Love has alleged neither cause nor prejudice excusing his default

in his motion and the only conceivable claim for cause would be a claim of ineffective assistance

of counsel. “Attorney error may constitute cause if it rises to the level of constitutionally ineffective

assistance of counsel.” Barrow v. United States, 8 Fed. App’x 286, 288 (6th Cir. 2001) (citing Rust

v. Zent, 17 F.3d 155, 161 (6th Cir. 1994)). Yet, Love makes no claim of ineffective assistance of

counsel.


        7
            In his answer to the government’s response, Love asserts that his claim is not barred by the JSSA
because he raised the issue at sentencing and complied with the statute. Clearly he did not raise the issue
prior to the voir dire examination nor did he raise it within seven days after it was discovered or could have
been discovered. He clearly was aware of the composition of the jury venire and the jury selected to try his
case at the time of jury selection.

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         Even if he did make such a claim, it fails because petitioner does not state a claim that his

attorney rendered deficient performance in this regard. The Sixth Amendment requires that the jury

venire from which a jury is selected represent a “fair cross-section” of the community. Taylor v.

Louisiana, 419 U.S. 522 (1975). In order to make a prima facie showing of a violation of the Sixth

Amendment, a defendant must establish that: (1) The group alleged to be excluded is a distinctive

group in the community; (2) the representation of this group in venires from which juries are

selected is not fair and reasonable in relation to the number of persons in the community; and (3)

this under-representation is due to systematic exclusion of the group in the jury selection process.

Duren v. Missouri, 439 U.S. 357 (1979); United States v. Buchanan, 213 F.3d 302, 308 (6th Cir.

2000).

         The Sixth Circuit Court of Appeals has had occasion previously to examine the jury selection

procedure in this district under the above standards. In United States v. Clark, 112 Fed. App’x 481,

2004 WL 2299452 (6th Cir. (Tenn.)), vacated on other grounds, 545 U.S. 1101 (2005), a case

originating in the Northern Division of this district, the defendant, on direct appeal, made the same

challenge that petitioner Love now makes. Finding no evidence that under-representation of blacks

in Clark’s jury venire resulted from “systematic exclusion,” the Sixth Circuit held that Clark could

not “establish a prima facie violation of his right to a jury panel composed of a fair cross-section of

his peers.” Id. at 486. While Clark involved a direct appeal, the Sixth Circuit has also ruled on the

issue raised in the context of a § 2255 motion, a situation more clearly analogous to the instant one.

In Holmes v. United States, 281 Fed. App’x 475, 2008 WL 2467978 (6th Cir. (Tenn.)), another case

originating in the Knoxville Division of this Court, the petitioner made a claim of ineffective

assistance of counsel for failing to object to the venire panel. In view of the Clark decision, the


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Sixth Circuit held that “counsel’s failure to raise a challenge to the jury venire was not deficient so

as to constitute ineffective assistance of counsel . . . [e]ven though Clark was issued after Holmes’

trial . . .” Id. at 480. The same is true here.

        In addition, to the extent petitioner relies on Smith v. Berghuis, 543 F.3d 326 (6th Cir. 2009),

that reliance is misplaced.8 In Smith, the Sixth Circuit Court of Appeals dealt with the State of

Michigan’s jury selection process, not that of the United States District Court for the Eastern District

of Tennessee. Secondly, the Sixth Circuit was reversed by a unanimous Supreme Court in Berghuis

v. Smith, 130 S. Ct. 1382 (2010). Nothing in the Supreme Court’s opinion lends any support to

petitioner’s claim.

        B.      Impartial Jury (Ground Three)

        One of the jurors seating on the jury which tried Love’s case was James M. Wilder. On the

juror questionnaire submitted by this juror, questions related to whether the prospective juror had

relatives associated with law enforcement or relatives who were involved in a criminal case as either

a defendant or victim were answered in the negative. During voir dire, perspective jurors were

asked if any juror had “been involved as either a defendant or a victim in a criminal case?”, and

whether they had “had any personal tragedies dealing with drugs, friends, family that because of

drugs ruined their lives?” Although some jurors responded in the affirmative, this juror did not.

Love now claims that this juror was untruthful and withheld information from the Court.

        Love contends, more specifically, that Wilder failed to disclose that three of his relatives,


        8
         The Court addresses this issue out of an abundance of caution. Although a claim based on Smith
v. Berghuis has not been explicitly raised by petitioner, he did previously ask the Court to hold action on
his § 2255 petition in abeyance pending the Supreme Court’s decision. As noted above, the Supreme Court
reversed the Sixth Circuit’s holding in Smith that the under-representation of African-Americans on county
venire panels in Michigan State courts was a result of systematic exclusion.

                                                    23


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in the span of three months in 2003, had met untimely deaths which were drug related, one of them

the murder of an individual who worked as a paid informant for the local drug task force. In support

of his claim, Love has attached to his memorandum several news reports: (1) a September 9, 2003

report from the website of WATE-TV (Knoxville); (2) an undated article from the Morristown

newspaper; and (3) an undated obituary announcement from the same newspaper concerning the

death of Donald Wilder, Sr. on November 1, 2003. In short, the news reports relate to the

disappearance of Don Wilder, a drug informant, and the death of his wife, Melissa, from a drug

overdose. The Wilders were identified as “key witnesses” in approximately 30 drug cases then

being prosecuted in Hamblen County, Tennessee, Criminal Court. Don Wilder was later confirmed

to have been the victim of an “assassination-style contract killing.” The relationship of Donald

Wilder, Sr. to either Don or Melissa Wilder is not apparent from Love’s filings.

       This claim fails for an obvious reason. Except for the conclusory allegation that Don and

Melissa Wilder and Donald Wilder, Sr. were relatives of the subject juror, there is no factual

allegation to support the claim. There is nothing in Love’s filings to show any relationship between

juror James Wilder and any of these individuals or to suggest that the juror misrepresented or

withheld any information. In his reply, Love “does not dispute this fact,” claims he has hired an

investigative firm which has not yet completed its investigation, and avows that he will provide a

copy of the report to the Court or withdraw the claim as soon as he receives the report. Although

the reply was filed more than two years ago, the petitioner has been forthcoming with neither. This

claim was not made in good faith, is not supported by any factual basis, and is utterly without merit.

       As the government argues, there is an additional reason why this claim fails–petitioner can

demonstrate no prejudice. Petitioner does not assert that any information allegedly at issue here


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would have led to this juror’s having been excluded for cause in this case. At best, Love claims that

the information would have allowed him to more intelligently exercise his peremptory challenges.

But such a claim fails because “[t]here is nothing in the Constitution of the United States which

requires Congress to grant peremptory challenges.” Zerka v. Greene, 49 F.3d 1181, 1186-87 (6th

Cir. 1995). In order to obtain a new trial on such a claim, the petitioner must show, first, “that a

juror failed to answer honestly a material question on voir dire,” which petitioner here cannot do,

and, secondly, “that a correct response would have provided a valid basis for a challenge for

cause.” Id. at 1185 (quoting McDonough Power Equipment, Inc. v. Greenwood, 464 U.S. 548

(1984)) (emphasis in original).

        Petitioner doesn’t come close with this claim of meeting either requirement of the

McDonough test and the claim clearly fails.

        C.       Prosecutorial Misconduct (Claims 4 and 5)

        Love next claims prosecutorial misconduct related to his prosecution and trial and counsel’s

ineffectiveness for not objecting to the alleged misconduct. More specifically, he makes three

distinct allegations of misconduct by the government prosecutor: (1) that his prosecution was

“vindictive 9 and selective;” (2) that the prosecutor knowingly presented perjured testimony in order

to obtain an indictment and; and (3) fraud on the court to obtain admission of evidence of prior bad


        9
            Although the petitioner alleges here in conclusory fashion that the prosecution was “vindictive,”
he makes no effort to develop any argument that it was so. Vindictive prosecution and selective prosecution
claims are distinct and separate claims. United States v. Anderson, 923 F.2d 450, 453 (6th Cir. 1991). A
prima facie case of vindictive prosecution requires allegations of “(1) exercise of a protected right; (2) a
prosecutorial stake in the exercise of that right; (3) unreasonableness of the prosecutor’s conduct; (4) the
intent to punish the defendant for the exercise of the protected right.” United States v. Suarez, 263 F.3d 468,
479 (6th Cir. 2001). The Sixth Circuit has held that “a decision to prosecute may not be deliberately based
upon the exercise of protected statutory rights.” United States v. Adams, 870 F.2d 1140, 1145 (6th Cir. 1989).
Since petitioner alleges no facts which could even arguably give rise to a vindictive prosecution claim under
this standard, the Court does not further address this issue.

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acts at trial. The Court will address each of these allegations in turn.

                1.      Selective Prosecution

                The crux of Love’s claim here is that the government had information that individuals

involved in the charged conspiracy were “importing large amounts of cocaine into the United States”

and that the son of a “respected city official” was purchasing cocaine from a government witness

but “elected to pursue information related only to the African-American individuals.” Although he

acknowledges, as he must, that two Caucasians, Gary and Lita Musick, were charged in this same

indictment, Love argues that they were indicted only because “their arrest was crucial to the

conviction of others within the conspiracy,” an allegation he never explains.10 He claims that it

“would have been easier for the government to prosecute some of the other alleged conspirators”

listed in drug ledgers seized from Duarte and Serna. Love further relies on unspecified “statistical

data” to provide a prima facie showing of discriminatory intent.

                The government labels this claim “frivolous” and argues that petitioner can show “no

evidence that the United States chose not to prosecute any similarly-situated drug dealers in the

conspiracy who, like petitioner, were trafficking in kilogram-quantities of cocaine.”                 The

government asserts that “[p]etitioner has not demonstrated either a discriminatory purpose or effect

in the charging decisions in this case and his argument is factually and legally without support.”

                The Court is constrained to agree with the government. The Court applies “ordinary

equal protection standards” to claims of selective prosecution. Cornwell v. Bradshaw, 559 F.3d 398,

411 (6th Cir. 2009) (citing Wayte v. United States, 470 U.S. 598 (1985)). In order to prevail on a



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            Love ignores the fact that three Hispanic individuals were also indicted in this case. In other
words, three Hispanics, two Caucasians and four African-Americans were indicted in this case.

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selective prosecution claim, a defendant must show that the federal prosecutorial policy had both

a discriminatory intent and a discriminatory effect. United States v. Jones, 159 F.3d 969, 976 (6th

Cir. 1998) (citing United States v. Armstrong, 517 U.S. 456, 465 (1996)).                 To establish

discriminatory intent in a case alleging selective prosecution based on race, a claimant must show

that the prosecutorial policy was motivated by racial animus. Id. at 977. To establish discriminatory

effect, the claimant must demonstrate that similarly situated individuals of a different race were not

similarly prosecuted. Id.

               Love has not attempted to plead factual allegations that similarly situated individuals

of a different race were not prosecuted. Although he claims, in conclusory fashion, that African-

Americans were somehow targeted for prosecution, he does not identify by name or any other

identifying feature the persons of a different race he claims were “similarly situated.” While he does

attach to his memorandum three pages, showing first names, from the drug ledgers seized, he does

not state their race or make any attempt to show how they were similarly situated except that they

were “importing large amounts of cocaine.” The one example he does give, that is, the son of a local

police chief who was purchasing cocaine from a government witness, illustrates the government’s

point quite well. It cannot be reasonably suggested that a person who purchases cocaine is similarly

situated to someone who was trafficking in multi-kilogram quantities of cocaine.

               There is yet another reason why petitioner’s claim fails. He raises it for the first time

in this proceeding and it has been waived. Federal Rule of Criminal Procedure 12(b)(3) requires a

defendant to raise an objection “alleging a defect in instituting the prosecution” prior to trial. A

selective prosecution claim clearly qualifies as such an objection. United States v. Mann, 884 F.2d

532, 539 (10th Cir. 1989) (selective prosecution implicates institution of prosecution and must be


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raised prior to trial). Failure to file a timely motion under Rule 12(b)(3) constitutes a waiver of the

objection, but the court may grant relief from the waiver “for good cause.” Fed. R. Crim. P. 12(e).

Petitioner makes no attempt to show good cause and none is apparent to the Court. These drug

ledgers were made available to petitioner as part of the discovery long before trial and nothing

prevented petitioner’s raising this claim prior to trial.

                2. Perjured Testimony

                Petitioner’s second claim of prosecutorial misconduct is that the government

prosecutor “knowingly and willingly suborned perjury” before the grand jury and at trial. With

respect to the grand jury testimony, Love claims that DEA Agent Templeton gave “patently false”

testimony that he had drug ledgers that contained the name “Love” beside Love’s personal

telephone number and descriptions of drug transactions. With respect to trial testimony, Love

claims that the testimony of Gorge Duarte was “replete with obvious falsehoods.” He cites Duarte’s

testimony that he could not read or write as contradicted by his testimony that he wrote everything

in the drug ledgers. He also references the testimony of Eric Serna that he ceased his drug related

activities in June of 2003 as contradicted by his testimony that he traded cocaine for two

automobiles owned by Love after that date. Love claims the government attorney knew the

testimony to be false at the time it was given.

                The government responds that it agrees, and did at trial, that Agent Templeton

misstated unintentionally the evidence before the grand jury, that defendant’s attorney used the

misstatement at trial to impeach the testimony of Templeton, and that the Court considered and

rejected the same claim in overruling petitioner’s motion for judgment of acquittal and for new trial.

Further, the government argues that petitioner, through cross-examination, impeached Duarte and


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Serna on these issues and their credibility was simply a matter for the jury to resolve.

               This claim also fails for numerous reasons. First of all, Federal Rules of Criminal

Procedure 12(b)(3)(A) and (B) and 12(c) require a party to raise any alleged defect in instituting the

prosecution or alleging a defect in the indictment by the grand jury to be raised before trial or it is

waived unless good cause is shown. In addition, any claims that petitioner could have raised on

direct appeal, but did not, are deemed waived for purposes of a § 2255 motion. Bousley v. United

States, 523 U.S. 614, 623 (1998). Petitioner has not shown cause for his failure to raise the issue

of allegedly perjured testimony on direct appeal. He and counsel were clearly aware of the

allegations, having raised them in the trial court.

               Even if Love could establish ineffective assistance of counsel as cause for his default,

he cannot show prejudice. As for the grand jury proceedings, any misstatement by Templeton in

his testimony can hardly be claimed to be material given that he acknowledged the misstatement at

trial and defendant’s counsel used the misstatement to attempt to impeach Templeton. Any

“prejudice” to petitioner was cured when the jury, applying a beyond a reasonable doubt standard

(while the grand jury was only determining probable cause) found the testimony of Templeton to

be credible and found Love guilty. As to the testimony of Duarte and Serna, the trial record shows

that they were vigorously cross-examined by Love’s attorney, that they were impeached through the

use of their allegedly inconsistent statements, and that the jury, as was its province, resolved their

credibility in favor of the government.

               Secondly, even if considered on the merits, the claim of petitioner that the

government knowingly offered false testimony fails. The law is well settled that to vacate a sentence

on the grounds of perjured testimony, the petitioner must not only prove that he was convicted by


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perjured testimony but also that the false statements were material and that the prosecuting officials

at the time the testimony was used knew that it was perjured. See, e.g., United States v. Bagley, 473

U.S. 667, 679-80 (1985); United States v. Farley, 2F.3d 645, 655 (6th Cir. 1993). In order to state

a claim for subornation of perjury, it must be shown that the testimony referred to was false, that it

was material, and that the prosecutor knew it was false. Coe v. Bell, 161 F.3d 320, 343 (6th Cir.

1998). “[M]ere inconsistencies in testimony by government witnesses do not establish knowing use

of false testimony.” Id. (quoting United States v. Lochmondy, 890 F.2d 817, 822 (6th Cir. 1989)).

With respect to the testimony of Templeton, petitioner offers no facts to establish that the testimony

was anything other than an unintentional misstatement as Templeton testified at trial. With respect

to Duarte and Serna, Love has done nothing more than identify inconsistencies in their testimony

and has not demonstrated that the testimony was false. Even if he could show that the testimony was

false, he has not offered a scintilla of evidence beyond the fact of the inconsistent statements

themselves that the government knowingly offered false testimony. A habeas petitioner must show

that a witness’s statement was indisputably false,” rather than misleading, to establish a claim of

prosecutorial misconduct. Byrd v. Collins, 209 F.3d 486, 517-18 (6th Cir. 2000).

               3.      Fraud Upon The Court

               Petitioner’s final allegation of prosecutorial misconduct is difficult to discern. He

argues that the government “provided a fabricated story” in order to permit the government to

introduce evidence of petitioner’s prior conviction.

               Over petitioner’s objection, the Court admitted evidence, pursuant to Federal Rule

of Evidence 404(b), of Love’s eight year old Tennessee state court conviction for selling at least

.5 grams of cocaine. Love appealed and the Sixth Circuit affirmed, holding that proof of the prior


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conviction was admissible to prove Love’s specific intent to participate in the charged drug

conspiracy. United States v. Love, 254 Fed. App’x 511 at **3 (6th Cir. 2007).

               Petitioner’s allegation of ineffective assistance of counsel for failure to object to a

fraud on the court is nothing more than a thinly disguised effort to relitigate the admissibility of the

prior conviction. Love may not use a § 2255 motion to relitigate an issue that was raised and

considered on direct appeal absent highly exceptional circumstances, such as an intervening change

in the law. DuPonte v. United States, 76 F.3d 108, 110-11 (6th Cir. 1996). There are no highly

exceptional circumstances here. This claim lacks merit.

       IV.      Conclusion

       For the reasons set forth above, petitioner’s claims Two, Three, Four and Five lack merit and

his petition will be DISMISSED as to those claims. The Court will enter final judgment in this

matter after the evidentiary hearing scheduled and the Court’s resolution of the claims which are the

subject of that hearing. The Court will also defer any determination of whether a certificate of

appealibility should issue as to any claim until the remaining claims are resolved.

       So ordered.

       ENTER:


                                                              s/J. RONNIE GREER
                                                         UNITED STATES DISTRICT JUDGE




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